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                Exhibit A
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

GROUPON, INC.,                                         )
                                                       )
                        Plaintiff,                     )
                                                       ) Case No. 21-cv-06082
    v.                                                 )
                                                       ) Honorable Judge Charles P. Kocoras
SUNG SHIN,                                             )
                                                       )
                      Defendant.                       )

              PLAINTIFF’S (EXPEDITED) FIRST SET OF INTERROGATORIES
                             TO DEFENDANT SUNG SHIN

         Pursuant to Rule 33 of the Federal Rules of Civil Procedure and the Court’s Order, dated

________, Plaintiff Groupon, Inc. (“Groupon” or “Plaintiff”), demands that Defendant Sung

Shin (“Shin” or “Defendant”) respond to the following expedited Interrogatories in writing and

under oath. Pursuant to the Court’s Order, dated ________, Defendant shall provide written

responses within ten (10) days of service to the offices of Sheppard Mulllin, Richter & Hampton

LLP, 70 W. Madison St., 48th Floor, Chicago, IL 60602, attn: Kevin M. Cloutier,

kcloutier@sheppardmullin.com.

                                           DEFINITIONS

         The following definitions shall apply to the instructions and Interrogatories below, unless

specifically indicated, or otherwise required, by the context of the Interrogatory:

         1.     The terms “Plaintiff” or “Groupon” mean Groupon, Inc. its agents and employees,

and its subsidiaries, affiliates and joint ventures.

         2.     The term “Yelp” means Yelp, Inc., its subsidiaries and affiliates, and its past or

present directors, employees, officers, representatives, agents, attorneys, investigators, or anyone

else acting on its behalf.
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       3.      The terms “You,” “Your,” and “Defendant” means Defendant Sung Shin, and all

past and present representatives, agents, attorneys, employees, consultants, advisors, and all

other persons acting, or purporting to act, on behalf of Defendant Sung Shin.

       4.      The term “Communication(s)” means any verbal conversation or written

statement from one person to another, whether oral or written, including, but not limited to, any

correspondence, e-mail, text, SMS message, instant message, Social Media posting or comment

(including, but not limited to, Facebook, Twitter, and LinkedIn), memorandum, interview,

conference, meeting, or telephone conversation.

       5.      The term “Document” is used in its broadest sense and means, without limiting

the generality of its meaning, any written, typed, printed, recorded or graphic matter of any kind,

however produced or reproduced, and all non-identical copies thereof, whether different because

of notes made thereon or otherwise, including, but not limited to, and by way of example only:

letters or other correspondence, messages, telegrams, telexes, facsimiles, e-mails, text messages,

Facebook posts or messages; LinkedIn posts or messages, memoranda, notations, reports,

analyses, schedules, calendars, time cards, punch cards, summaries, charts, graphs, studies,

tabulations, statements, notes, notebooks, work papers, telephone toll records, invoices, books,

pamphlets, brochures, press releases, diaries, minutes of meetings or conferences, transcripts of

telephone conversations, transcripts of testimony, cost sheets, financial reports, accountants’

papers, opinions, or reports of consultants, checks (front and back), check stubs, receipts,

ledgers, purchase orders, pictures, photographs, contracts, agreements, advertisements, motion

picture films, tapes, tape recordings, videotapes, indices, microfilm, other data compilations,

including computer data, computer diskettes or the memory units containing such data from




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which information can be obtained or translated into usable form, drafts of any of the foregoing,

English translations or summaries of foreign language documents and all similar documents.

        6.      The term “identify” (with respect to persons) means to give, to the extent known,

the persons’ full name, present last known address and, when referring to a natural person,

additionally, the present or last known place of employment.

        7.      The term “identify” (with respect to documents) means to give, to the extent

known, the: (a) type of document; (b) general subject matter; (c) date of the document; and (d)

author(s), addressee(s) and recipient(s).

        8.      “Including” means including but not limited to the referenced subject.

        9.      “Information” means information of any kind in any form whatsoever.

        10.     “Person” or “Individual” means all natural persons, corporations, partnerships,

limited partnerships, joint ventures, unincorporated associations, any other business association,

government entities, and all other legal entities.

        11.     The terms “concerning” and “relating to” as used herein shall be interpreted

broadly and shall include, but not be limited to, the following meanings: consisting, containing,

regarding, recording, discussing, mentioning, noting, evidencing, supporting, memorializing,

summarizing, analyzing, describing, commenting upon, pertaining to and/or referring, in whole

or in part, to the matters set forth.

        12.     The use of the singular form of any word includes the plural and vice versa.

        13.     All references made and all nouns and pronouns herein shall be construed in the

singular or the plural and in such gender as the sense and circumstances require.

                                  GENERAL INSTRUCTIONS
        The following general instructions shall apply to each of the Interrogatories below, unless

specifically indicated, or otherwise required, by the context of the Interrogatory:

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   1. For the purpose of these (Expedited) First Set of Interrogatories, the relevant time

       period is from April 1, 2021 to the present.

   2. The answer to each interrogatory shall include all information within Defendant’s

       possession, direction or control. Where facts set forth in the answers are supplied on

       information and belief rather than on actual knowledge, so state and identify the

       source or sources of such information or belief.

   3. If an answer is not within the personal knowledge of the person answering the

       interrogatory, identify each person known to have personal knowledge of the answer

       provided.

   4. In answering each interrogatory, identify the person(s) providing the information

       necessary to formulate an answer to that interrogatory.

   5. If an interrogatory cannot be answered in full due to an incomplete or continuing

       investigation, so state and answer to the fullest extent possible.

   6. If any information or Document described in these interrogatories was, but no longer

       is, in Defendant’s possession, subject to his custody, control or direction, or in

       existence, state whether:

       1. It is missing or lost;

       2. It has been destroyed;

       3. It has been transferred, voluntarily or involuntarily, to another;

       4. It has been otherwise disposed of; and

       5. In each instance, explain the circumstances surrounding such disposition and
          identify the person(s) directing or authorizing the same and the date(s) thereof.




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   7. For purposes of this and subsequent interrogatories, a singular word includes the

       plural form of such word and vice-versa as the context of the interrogatory or its

       answer requires.

   8. The terms “and” and “or” shall be construed both conjunctively and disjunctively so

       as to encompass the broadest possible response.

   9. With respect to any Document for which a privilege is being asserted, identify such

       document by stating (a) the name, title and job or position of the document’s author;

       (b) the name, title and job or position of document’s sender; (c) the name, title and

       job or position of every person who received or saw the document or any of its

       copies; (d) the date of the document; (e) the physical description of the document,

       including size, length, types or handwritten, etc.; (f) a brief description of the

       document’s subject matter; (g) the basis for the privilege asserted; and (h) the name,

       title, and job or position of all persons on whose behalf the privilege is asserted.

   10. With respect to any conversation for which a privilege is being asserted, identify by

       stating (a) when the conversation occurred; (b) where the conversation occurred; (c)

       the name, title and job or position of each person who was present at or during the

       conversation, whether or not such conversation was in person or by telephone; (d) a

       brief description of the conversation’s subject matter; and (e) the name, title, and job

       or position of all persons on whose behalf the privilege is asserted.

   11. These interrogatories are continuing in nature as to require supplemental responses if

       You learn of additional responsive information between the time of initial responses

       and the time of a preliminary injunction hearing and/or trial pursuant to Rule 26(c).




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                                  INTERROGATORIES
       1.     Identify Your position at Yelp and describe, in detail, Your compensation

(including salary and any incentive or performance based compensation) and all Your job duties

and responsibilities, including but not limited to any services You will provide relating to

advertising and Yelp’s former, current and/or prospective merchants and/or customers.

       ANSWER:

       2.     Describe, in detail, all Communications between You and Yelp during the course

of Your employment with Groupon, including, but not limited to, dates, times and methods of

communication, the persons involved in such Communications, and the substance of the

Communications.

       ANSWER:

       3.     Describe, in detail, all Communications between You and Yelp relating to

Groupon, during the course of, and subsequent to Your, employment with Groupon, and specify

the dates, times and methods of communication, the persons involved in such Communications,

and the substance of the Communications.

       ANSWER:

       4.     Describe, in detail, all Communications between You and any current, former or

prospective Groupon merchant and/or customer since You accepted Your position at Yelp,

including the Persons involved in the Communications, the date(s) of such Communications, the

method(s) of such Communications (including the email address or telephone number used), the

substance of the Communications, and any witnesses to the Communications.

       ANSWER:

       5.     Describe, in detail, all Communications between You and any other Person

relating to Your recruitment to Yelp and/or departure from Groupon, including but not limited to

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any Communications or discussions regarding the Confidentiality, Intellectual Property, and

Restrictive Covenants Agreement You signed on March 17, 2021, and including dates, times and

methods of communication, the persons involved in such Communications, and the substance of

the Communications.

       ANSWER:

       6.      Identify each and every former, current or prospective Groupon merchant and/or

customer for whom You and/or Yelp have provided or will provide advertising services, solicited

or will solicit advertising business and/or with whom You have communicated since You

accepted Your role at Yelp, including the name of each customer, the nature of the services You

and/or Yelp provided or will provide, and the date(s) You and/or Yelp provided services or

anticipate providing services.

       ANSWER:

       7.      Identify any former, current and/or prospective Groupon merchant and/or

customer with and/or over whom You will have any responsibility, oversight and/or

communication in your position at Yelp and/or for whom You will provide services at Yelp.

       ANSWER:

       8.      Identify all Documents and Communications in which You have compared or

likened Groupon’s online platform, services and/or offerings to Yelp’s online platform, services

and/or offerings.

       ANSWER:




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Dated: November __, 2021                    Respectfully submitted,


                                            /s/ Kevin M. Cloutier
                                            Kevin M. Cloutier, Esq. (6273805)
                                            Shawn D. Fabian, Esq. (6310637)
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                                 CERTIFICATE OF SERVICE

       I, Kevin M. Cloutier, an attorney, hereby certify that a true and correct copy of the foregoing

was served via email and first class mail with proper postage prepaid, this __ day of November, 2021

to:


       Jeffrey L. Taren, Esq.
       Miriam N. Geraghty, Esq.
       Kinoy, Taren and Geraghty, P.C.
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       Chicago, Illinois 60604-2505
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       mgeraghty@ktglawyer.com

                                                      /s/ Kevin M. Cloutier
                                                      Counsel for Plaintiff, Groupon, Inc.




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